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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                   Southern Division

                                                  *
UNITED STATES OF AMERICA
                                                  *
v.                                                           Case No. PWG-19-134
                                                  *
CHRISTOPHER WILLIAMS,
                                                  *
       Defendant
                                                  *
*      *       *       *      *       *       *       *      *       *      *       *       *
                           MEMORANDUM OPINION AND ORDER

       Defendant Christopher Williams was stopped in a vehicle with defective tail and tag lights

on a private road in an apartment complex when Officer Jonathan Eveler observed him and stopped

the vehicle for violations of Maryland Transportation Code (“Transportation Code”). The stop led

to a drug arrest. Williams filed a Motion to Suppress, ECF No. 18, arguing that the stop violated

the Fourth Amendment.1 Williams did not violate the Transportation Code sections regarding tail

and tag lights, and it was not a reasonable mistake of law to conclude that he did. However, Officer

Eveler had a reasonable suspicion that Williams had just or was about to commit a violation of the

Transportation Code by driving on a public highway with defective rear and tag lights. Therefore,

the stop was justified under Terry v. Ohio, 392 U.S. 1 (1968), and Williams’ motion to suppress is

DENIED.




1
  The parties fully briefed the motion. ECF Nos. 18, 22, 25, 26, 29. I held a hearing on the motion
on July 22, 2019, during which I made findings of fact. ECF Nos. 30, 34. During the hearing, I
requested additional briefing, which the parties provided. ECF Nos. 33, 35, 36.
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                                            Background

       On November 1, 2018, at approximately 10:15 p.m., Officer Eveler of the Prince George’s

County Police Department was patrolling with several other officers on 16th Avenue in

Hyattsville, Maryland, within the LaSalle Park apartment complex. Hr’g Tr., 101:5-8, ECF No.

34 (“Tr.”). Undisputed testimony established that 16th Avenue is a private road that loops around

the apartment complex and connects to Chillum Road, a public road. Id. at 14:13-22. Officer

Eveler drove past a silver Mercedes, with Williams inside as the sole occupant, stopped next to a

dumpster in a spot with a yellow “X” through it. Id. at 105:3, 101:23–102:5.2 The vehicle’s lights

were on, but its right tail light and tag lights were not functioning. Id. at 111:22–112:21. Officer

Eveler drove past the vehicle en route to assist nearby officers, but returned to Williams’ vehicle

approximately one minute later to initiate a stop. Id. at 102:6–11. At that point, Williams’ vehicle

began to reverse then drive forward. Id. at 26:7–8, 48:23–49:12. The vehicle’s tail and tag lights

were working. Id. at 103:17–22. Officer Eveler then activated his emergency lights and stopped

the vehicle. Id. at 26:9–10. Officer Eveler testified that during the stop he detected the odor of

marijuana and observed what he believed to be crack cocaine. Id. at 31:12, 34:8-11. Williams

was arrested and an inventory search was performed of the vehicle. Id. at 38:10-15. During the

inventory search, approximately fifteen minutes after the initial stop, the vehicle’s right tail light

and tag lights again were not working. Id. at 42:25–43:4, 103:24–104:6.




2
  Officer Eveler testified that the engine was running. Tr. 19:3–12. His testimony was
uncontroverted, see Tr. 101:23–102:5, although on cross, he said that he could no longer recall if
he heard the engine running, id. at 60:3–7.


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                                            Discussion

       The Fourth Amendment protects “[t]he right of the people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures.” U.S. Const. amend. IV.

“‘Temporary detention of individuals during the stop of an automobile by the police, even if only

for a brief period and for a limited purpose, constitutes a ‘seizure’’ under the Fourth Amendment.

An automobile stop, therefore, is subject to the reasonableness requirement of the Fourth

Amendment.” United States v. Bowman, 884 F.3d 200, 209–10 (4th Cir. 2018) (quoting Whren v.

United States, 517 U.S. 806, 809 (1996); citing Whren, 517 U.S. at 810).

       Generally, to be reasonable, a seizure must be “‘based on probable cause’ to believe that

the individual has committed a crime.” Bailey v. United States, 568 U.S. 186, 192 (2013) (quoting

Dunaway v. New York, 442 U.S. 200, 213 (1979)). Probable cause exists when the “facts and

circumstances within the officer’s knowledge . . . are sufficient to warrant a prudent person, or one

of reasonable caution, in believing, in the circumstances shown, that the suspect has committed, is

committing, or is about to commit an offense.” United States v. Gray, 137 F.3d 765, 769 (4th Cir.

1998) (quoting Michigan v. DeFillippo, 443 U.S. 31, 37 (1979)). “[S]ome latitude” exists,

however, for detention without probable cause “where ‘the intrusion on the citizen’s privacy was

so much less severe’ than that involved in a traditional arrest that ‘the opposing interests in crime

prevention and detection and in the police officer’s safety’ could support the seizure as

reasonable.” Bailey, 568 U.S. at 193 (quoting Michigan v. Summers, 452 U.S. 692, 697–98

(1981)). These brief detentions are known as “Terry stops,” because in Terry v. Ohio, 392 U.S. 1,

27 (1968), the Supreme Court held that “a police officer who has reasonable suspicion of criminal

activity may conduct a brief investigative stop.” Bailey, 568 U.S. at 193.




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                                  Maryland Transportation Code

       The Government argues that Williams violated two sections of the Transportation Code: §

22-204(a), regarding tail lamps, and § 22-204(f), regarding tag lights.3 If Williams violated one

or both sections, Officer Eveler had probable cause to stop Williams and the motion to suppress

should be denied. Williams did not violate these sections of the Transportation Code because he

was parked and not on a highway when his tail and tag lights were inoperable. Therefore, these

alleged violations do not provide a basis to dismiss the motion to suppress.

       Section 22-204(a) provides in relevant part that “every motor vehicle . . . shall be equipped

with at least 2 tail lamps mounted on the rear, which, when lighted as required in § 22-201.1 of

this subtitle, shall emit a red light plainly visible from a distance of 1,000 feet to the rear.” Md.

Code Ann., Transp. § 22-204(a). Section 22-204(f) states:

       Either a tail lamp or a separate lamp shall be constructed and placed to illuminate,
       with a white light, the rear registration plate and render it clearly legible from a
       distance of 50 feet to the rear. Any tail lamp or tail lamps, together with any
       separate lamp or lamps for illuminating the rear registration plate, shall be wired to
       be lighted whenever the head lamps or auxiliary driving lamps are lighted.

Transp. § 22-204(f). Also relevant is Transp. § 22-201.1, which applies to both §§ 22-204(a) and

(f). Section 22-204(a) references § 22-201.1 directly. While § 22-204(f) does not explicitly

reference § 22-201.1, § 22-202(a) states:




3
  Officer Eveler cited Williams for violations of § 22-219(a) and § 22-204(f) of the Transportation
Code. Section 22-219(a) pertains to “stop lamps,” commonly known as brake lights, which the
Government concedes are not at issue here. During the suppression hearing, Officer Eveler
testified that Williams’ right tail light was out. Both the Government’s and Defendant’s briefs
therefore focus on § 22-204(a) regarding tail lights, instead of § 22-219(a). Officer Eveler’s
citation error is not legally relevant. See Devenpeck v. Alford, 543 U.S. 146, 153 (2004) (rejecting
rule that offense supported by known facts must be “closely related” to the offense the officer
invoked).


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       Whenever a requirement is declared in this subtitle as to distance from which
       certain lamps and devices shall render objects visible or within which the lamps or
       devices shall be visible, the requirement applies during the times stated in § 22-
       201.1 of this subtitle in respect to a vehicle without a load when on a straight, level,
       unlighted highway under normal atmospheric conditions, unless a different time or
       condition is expressly stated.”

Transp. § 22-202(a) (emphasis added).4 Thus, § 22-204(f)’s requirement that tag lights must be

visible from a distance of 50 feet to the rear triggers § 22-202(a), which in turn provides that the

lighting requirement applies during the times stated in § 22-201.1. Therefore, the lighting

requirements for tail lamps and tag lights apply during the times described in § 22-201.1.

       Section 22-201.1 states:
       Every vehicle on a highway in this State, at any time when, due to insufficient
       light or unfavorable atmospheric conditions, persons and vehicles on the highway
       are not clearly discernible at a distance of 1,000 feet ahead, shall display lighted
       lamps and illuminating devices as respectively required in this subtitle for different
       classes of vehicles, subject to exceptions with respect to parked vehicles, and
       further that stoplights, turn signals, and other signaling devices shall be lighted as
       prescribed for the use of these devices.

Transp. § 22-201.1 (emphasis added). Read in conjunction with the previously cited sections of

the Transportation Code, the tail light and tag light requirements of §§ 22-204(a) and (f) apply to

specific circumstances, one of which is that the vehicle must be on a highway and another of which

is that the vehicle cannot be parked. See id.

       The Transportation Code defines “park” as follows:

       “Park” means to halt a vehicle, whether or not it is occupied, other than temporarily:
       (1) When necessary to avoid conflict with other traffic or in compliance with the
       directions of a police officer or a traffic control device; or (2) For the purpose of
       and while actually engaged in loading or unloading property or passengers.




4
  Neither party cited this section of the Transportation Code. Yet it is critical to understanding the
applicability of § 22-204(f) because it makes clear that § 22-204(f), like § 22-204(a), is limited to
the circumstances specified in § 22-201.1.


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Transp. § 11-144. I have identified only one case, Atl. Mut. Ins. Co. v. Kenney, 591 A.2d 507

(1991), discussing this definition of parking. In that case, Respondent argued for the first time on

appeal that stopping a tractor trailer in a “No Parking Zone” and unloading goods for

approximately fifteen minutes did not constitute parking because it was only “temporary.” Id. at

509–10. Ultimately the Court of Appeals of Maryland did not decide whether this timeframe was

sufficiently temporary to qualify as parking for the purposes of the Transportation Code’s illegal

parking statute, § 21-1003. Id. at 510. Rather, it independently concluded that the tractor trailer

was parked negligently under Maryland common law, assuming without further discussion that

the vehicle was “parked” for that purpose. Id. at 511.

       Here Williams’ vehicle was stopped next to a dumpster in a parking spot with a large

yellow “X” on 16th Avenue when Officer Eveler first drove past him. Officer Eveler specifically

testified that Williams’ vehicle was “parked.” Tr. 18:18. Williams was still there approximately

one minute later when Officer Eveler returned. Based on this evidence, Williams’ vehicle was

halted and pulled off the main road to avoid conflict with other traffic, meeting the statutory

definition of parking. Because Williams’ car was parked, he was not in violation of the lighting

requirements in §§ 22-204(a) and (f).

       Further, 16th Avenue is not a “highway” for the purposes of §§ 22-204(a) and (f) and this

provides an independent basis for concluding that Williams did not violate these sections of the

Transportation Code. Transportation § 11-127 defines “highway” in relevant part as “[t]he entire

width between the boundary lines of any way or thoroughfare of which any part is used by the

public for vehicular travel, whether or not the way or thoroughfare has been dedicated to the public

and accepted by any proper authority.” Transp. § 11-127.




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       In United States v. Ambrose, 942 A.2d 755 (2008), the Court of Appeals of Maryland

addressed the meaning of the definition of “highway” in § 11-127. Previous Maryland case law,

and cases from the District of Maryland applying Maryland case law, examined the right of the

public to use of a roadway rather than the fact of use by the public to determine whether a road

was a highway under the “used by the public” provision of § 11-127. See United States v. Taylor,

441 F. Supp. 2d 747, 752-54 (D. Md. 2006) (summarizing cases). In Ambrose, the Court of

Appeals of Maryland reversed this approach, holding that “the proper inquiry involves a factual

determination as to the character of the use of the highway or private roadway/property by the

public, regardless of the restrictions placed on the public’s access or use.” 942 A.2d at 756.

       In Ambrose, the court cited with approval this Court’s analysis in Taylor, 441 F. Supp. 2d

747. Ambrose, 942 A.2d 765. In Taylor, I found that the roads within Aberdeen Proving Grounds

(“APG”) were “used by the public in general” under the meaning of Transp. § 21-101.1.5 To drive

into APG, non-military personnel without a federal ID were required to show a valid state driver’s

license and offer a legitimate reason for entering the premises. Taylor, 441 F. Supp. 2d at 749,

754. APG issued approximately 2,000 day passes to visitors each week, granting access to a wide

array of retail and recreational facilities including golf courses, hunting grounds, boat launches,

shops, restaurants, and a museum. Id. Based on these facts, I found that the roads within APG

were used by the public.

       Following Ambrose, this Court reached a similar conclusion with respect to the roads on

Fort Meade, finding that they were “an area used by the public.” United States v. Slagle, No. SAG-

15-392, 2015 WL 5897740, at *5 (D. Md. Oct. 6, 2015). Fort Meade has one visitor access gate


5
  The meaning of Transp. § 21-101.1 is not at issue here. However, the Ambrose Court cited the
analysis of this section with approval for the type of analysis that courts should use when
interpreting both § 21-101.1 and § 11-127.


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and requires visitors to have a legitimate purpose to enter the installation, but also invites many

visitors to the property. Id. It hosts public recreational facilities and has two museums that are

open to the public, and each day more than 100,000 people seek and use the services provided by

the fort. Id. These facts demonstrated that there was widespread public use of the roads within

Fort Meade. Id.

       While the Fourth Circuit has not interpreted the definition of highway under Maryland’s

Transportation Code, it has applied the same analytical approach as prescribed by Ambrose –

examining the actual public use of a roadway – in several cases involving Virginia’s transportation

code, which has a substantially similar definition of highway. See United States v. Smith, 395 F.3d

516 (4th Cir. 2005); United States v. Adams, 426 F.3d 730 (4th Cir. 2005); United States v.

Scott, No. 05-5100, 2006 WL 1867344 (4th Cir. July 6, 2006) (unpublished). In Smith, a lost

motorist under the influence of alcohol approached a CIA gate seeking directions, and an ensuing

check of the defendant’s license revealed that it was suspended, resulting in a citation. 395 F.3d at

517–18. In concluding that the road was not a highway, the Fourth Circuit focused on the presence

of signs permitting only employees and those with authorized business onto the property, plainly

establishing that the road was not open to public use. Id. at 520.

       Following the reasoning of Smith, Adams held that a national park road, which had been

shut down to repair damage caused by a hurricane, was not open to public use and consequently

was not a highway under Virginia law. Adams, 426 F.3d at 732. Again, signs were posted at the

entrances prohibiting unauthorized entry, and several press releases informed the public that the

park was closed until further notice. Id. The court concluded that the prohibition on public access

divested the road of its highway status, and it reversed the defendant’s conviction for driving with

a suspended or revoked license. Id.



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       In Scott, the Fourth Circuit rejected an argument that a road outside the main gate of Fort

Lee was not a highway under Virginia law. Scott, 2006 WL 1867344, at * 1. Much like the entry

process at APG, non-affiliated drivers and those without an entry decal were required to present a

driver’s license and vehicle registration to obtain a day pass which would allow them to drive

freely on the Fort Lee roads. Id. The court observed that public use of the roads, subject to

minimal restrictions, distinguished the case from Smith and Adams, where the roads were entirely

closed to the public. Id.

       Here the record established that 16th Avenue is contained within a private apartment

complex, LaSalle Park. It is not a through road; it connects to Chillum road at two places and

loops around the apartment complex. The road provides access solely to the LaSalle Park

apartments and parking spots. At the two entrances to LaSalle Park on 16th Avenue there are signs

posted that read, “Private Property No Trespassing,” “WARNING Parking By Permit Only,” and

“NO Loitering, Soliciting, or Trespassing.” Tr. 64:13 – 65:21. Officer Eveler testified that he

understood LaSalle Park to be a private apartment complex and 16th Avenue to be a private road.

Tr. 63:8-14. There is no evidence in the record that establishes the general public actually uses

16th Avenue.

       This stands in contrast to the roads discussed in Taylor, Slagle, and Scott above. While

those roads limited visitors, there was ample evidence of their use by the public and that they were

held open for that purpose. There is no such evidence here. Instead, the evidence establishes that,

like the roads in Smith and Adams, 16th Avenue had signs posted permitting only authorized access

to the property and did not accept visitors for public use. Therefore, 16th Avenue is not a

“highway” under Transp. § 11-127, and Williams was not in violation of the lighting requirements

in Transp. §§ 22-204(a) and (f).



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       The Government argues that the second phrase in Transp. § 22-204(f)6 does not require a

car to be on a highway and does not include an exception for parked vehicles. But this reading

divorces this clause from the rest of § 22-204(f) and the other lighting provisions in the vehicle

code. The preceding sentence of § 22-204(f) establishes that the lighting requirements for tag and

tail lights do not apply when a vehicle is not on a highway or is parked. And the headlamp lighting

requirement itself is § 22-201.1, which applies only to cars on a highway and creates an exception

for parked vehicles. When evaluating a statute, the general rule in Maryland is to read the words

in context. Harford County v. University, 569 A.2d 649, 651 (1990). Courts must avoid a

construction of a statute that is unreasonable, illogical, or inconsistent with common sense. Gwin

v. Motor Vehicle Admin., 869 A.2d 822 (2005). The Government’s reading of the statute would

create a separate lighting requirement no matter where a vehicle is located – in a garage, in a body

shop, or in a parking space on a private road – when all the other requirements for headlights, tail

lights, and tag lights only apply on a highway and not to parked cars. The language and context

of the Transportation Code and § 22-204(f) do not support such a reading. For the reasons stated

above, Williams was not in violation of the lighting requirements in §§ 22-204(a) and (f).

                                          Mistake of Law

       The Government argues that even if Williams was not in violation of Transp. §§ 22-204(a)

and (f), under Heien v. North Carolina, 135 S. Ct. 530 (2014) and its progeny, it was a reasonable

mistake of law to conclude that he was, making the stop constitutional. This is not a reasonable

mistake of law and therefore does not provide a constitutional basis for the stop.




6
  “Any tail lamp or tail lamps, together with any separate lamp or lamps for illuminating the rear
registration plate, shall be wired to be lighted whenever the head lamps or auxiliary driving lamps
are lighted.” Transp. § 22-204(f).


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       In Heien, the Supreme Court established that an officer’s reasonable mistake of law could

give rise to the reasonable suspicion necessary to uphold a seizure under the Fourth Amendment.

135 S. Ct. at 534. The mistake of law must be “objectively reasonable” such that a court “do[es]

not examine the subjective understanding of the particular officer involved.” Id. at 539. A

reasonable mistake of law requires that a statute is “genuinely ambiguous, such that overturning

the officer’s judgment requires hard interpretive work.” Id. at 541 (Kagan, J. concurring). In other

words, “the statute must pose a ‘really difficult’ or ‘very hard question of statutory

interpretation.’” Id. In interpreting Heien, the Fourth Circuit recently explained: “An officer’s

mistake of law may be reasonable if the law is ambiguous, such that reasonable minds could differ

on the interpretation, or if it has never been previously construed by the relevant courts.” United

States v. Hinton, 773 F. App’x 732, 734 (4th Cir. 2019) (unpublished).

       Heien involved an interpretation of a North Carolina statute regarding brake lights. 135 S.

Ct. at 534. An officer stopped a vehicle because one of its two brake lights was out, but a court

later determined that North Carolina law only required one working brake light. Id. The relevant

provision of the North Carolina vehicle code provides that a car must be “equipped with a stop

lamp on the rear of the vehicle” and that “[t]he stop lamp may be incorporated into a unit with one

or more other rear lamps.” Id. at 536 (citation omitted). But a nearby code provision required that

“‘all originally equipped rear lamps’ be functional.” Id. (citation omitted). The officer interpreted

these sections to mean that if one or more stop lamps are equipped, they must all be functional.

Id. The North Carolina Court of Appeals concluded that rear lamps did not include stop lamps,

notwithstanding that the phrase, “[t]he stop lamp may be incorporated into a unit with one or more

other rear lamps,” could suggest that a stop lamp is a type of rear lamp. Given this ambiguity, and

the fact that North Carolina’s appellate courts had not previously construed these provisions, the



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Supreme Court had “little difficulty concluding that the officer’s error of law was reasonable.” Id.

at 541.

          In Hinton, the issue was whether a vehicle stopped in the road should be considered an

“oncoming vehicle” under the South Carolina vehicle code. 773 F. App’x at 733–34. The South

Carolina vehicle code did not define “oncoming vehicle,” and no South Carolina appellate court

had interpreted the relevant statute. The parties offered competing dictionary definitions for

“oncoming vehicle” and conflicting interpretations from other state courts. Id. Under these

circumstances, the Fourth Circuit found that either interpretation was reasonable and that assuming

the officer made a mistake of law, it was a reasonable mistake. Id. at 734.7

          Two cases from other circuit courts also are instructive. In United States v. Lawrence, a

driver’s right front and rear tires had crossed a fog line – the white line demarcating the boundary

of a road – by two feet. 675 F. App’x 1 (1st Cir. 2017). An officer stopped the driver on the basis

of a Massachusetts statute that provides, “When any way has been divided into lanes, the driver of

a vehicle shall so drive that the vehicle shall be entirely within a single lane, and he shall not move

from the lane in which he is driving until he has first ascertained if such movement can be made

with safety.” Id. at 3 (quoting Mass. Gen. Laws ch. 89, § 4A). The driver argued that this statute

requires a finding that a lane movement be unsafe to establish a violation. Id. The government

argued that the plain meaning of the first sentence of the statute requires staying within a single

lane, which the driver failed to do. Id. at 4. There were no other Massachusetts cases squarely



7
  In another recent unpublished opinion, this Court concluded that “[g]iven the obscurity of the
issue, a mistake about whether a driver has to use a turn signal when leaving private property does
not appear to be an unreasonable mistake.” Seay v. United States, No. DKC-15-3367, 2018 WL
1583555, at *3 (D. Md. Apr. 2, 2018), appeal dismissed, 739 F. App’x 193 (4th Cir. 2018).
However, the parties in Seay did not contest this proposition, and the Seay opinion does not include
an analysis of the issue. For those reasons, it is not helpful in resolving the issues presented here.


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addressing this issue. Without deciding the meaning of the statute, the First Circuit held that the

officer’s interpretation of the statute was at least objectively reasonable.               Id. at 6.

       In United States v. Flores, a driver was stopped because a license plate frame covered the

top portion of several letters identifying where the license plate was issued, though the officer

could still read the plate. 798 F.3d 645, 646 (7th Cir. 2015). An Illinois statute requires that

license plates be “clear and visible” and “maintained in a condition to be clearly legible, free from

any materials that would obstruct the visibility of the plate.” Id. at 647 (quoting 625 ILCS 5/3–

413(b)). The Seventh Circuit held that it was not a reasonable mistake of law to believe that the

driver was violating the law, given that if a reasonable officer could read the plate, as the evidence

showed, it was unreasonable to believe that the plate’s information was not clearly visible and

legible. Id. at 649.

       Here the lighting requirements for tail lights and tag lights in Transp. §§ 22-204(a) and (f)

apply during the circumstances specified in § 22-201.1, including that the car must be on a highway

and not parked. The Transportation Code defines both “park” and “highway.” The position of

Williams’ vehicle met the plain language of the statutory definition of “park.” And there is ample

case law interpreting the definition of “highway” such that it would not be reasonable to conclude

that the private road 16th Avenue was a highway. Unlike in Heien and Lawrence, there is no

ambiguity where different provisions of the code suggest opposing results. Unlike in Hinton, the

relevant terms of the Transportation Code are statutorily defined and are not subject to conflicting

judicial opinions. Instead, just like a reasonable officer in Flores could read the license plate and

determine that it was legible under the plain meaning of the relevant statute, a reasonable officer

here only could conclude that Williams was parked and not on a highway, and therefore did not




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meet the requirements for a tail or tag light violation under the plain meaning of the Transportation

Code.

        While it is true that interpreting the Transportation Code requires cross-referencing

multiple sections, this is not uncommon in statutory interpretation and cannot be said to make the

determination “genuinely ambiguous” or a “very hard question of statutory interpretation.” Heien,

135 S. Ct. at 541 (Kagan, J. concurring). Here, I agree with the analysis in Flint v. City of

Milwaukee, which explained, “Statutes frequently cross-reference each other and require some

effort to connect the dots. If reasonable mistakes of law were permitted on this basis alone (without

showing concomitant ambiguity), virtually no mistakes of law would be unreasonable, given the

often dense and inartful structure of such statutes, writ large.” 91 F. Supp. 3d 1032, 1059 (E.D.

Wis. 2015). Likewise, as Chief Justice Roberts instructed in Heien: “[A]n officer can gain no

Fourth Amendment advantage through a sloppy study of the laws he is duty-bound to enforce.”

135 S. Ct. at 539–40. Accordingly, it was not a reasonable mistake of law to conclude that

Williams violated Transp. §§ 22-204(a) and (f).

                                             Terry Stop

        The Government argues that, even if Williams was not violating the Transportation Code

and it was not a reasonable mistake of law to conclude that he was, the stop still was lawful based

on a reasonable suspicion that Williams had just or was about to drive on Chillum Road with

defective tail and tag lights. Because the evidence supports this reasonable suspicion, the stop was

lawful. For this reason, Williams’ motion to suppress is denied.

        “A Terry stop satisfies the reasonableness requirement of the Fourth Amendment if there

exists ‘a reasonable, articulable suspicion that criminal activity is afoot.’” United States v.

Johnson, 599 F.3d 339, 345 (4th Cir. 2010) (quoting Illinois v. Wardlow, 528 U.S. 119, 123 (2000).


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“Reasonable suspicion is a ‘commonsense, nontechnical’ standard that relies on the judgment of

experienced law enforcement officers, ‘not legal technicians.’” United States v. Palmer, 820 F.3d

640, 650 (4th Cir. 2016) (citing Ornelas v. United States, 517 U.S. 690, 695 (1996). This standard

“is less demanding than the probable cause standard or even the preponderance of evidence

standard.” United States v. Bowman, 884 F.3d 200, 213 (4th Cir. 2018) (citing Wardlow, 528 U.S.

at 123).     Nonetheless, “the officer’s suspicions must . . . be more than an ‘inchoate and

unparticularized suspicion or hunch.’” Johnson, 599 F.3d at 345 (quoting Terry, 392 U.S. at 27).

That is, “the government agent must articulate a particularized, objective basis for his or her

actions.” United States v. Kehoe, 893 F.3d 232, 237 (4th Cir. 2018), cert. denied, 139 S. Ct. 842

(2019).

          To determine reasonableness, the court considers “the totality of the circumstances.” Id.

(quoting United States v. Arvizu, 534 U.S. 266, 273 (2002)). These circumstances include looking

briefly into the past and the near future. Johnson, 599 F.3d at 345 (“[A] police officer whose

observations lead him to suspect that a particular person has committed or is about to commit a

crime [may] detain the person briefly in order to ‘investigate the circumstances that provoke

suspicion.’” (quoting United States v. Brignoni–Ponce, 422 U.S. 873, 881 (1975)); Crosby v. State,

970 A.2d 894, 903 (2009) (“[P]ursuant to Terry and its progeny, ‘a police officer who has

reasonable suspicion that a particular person has committed, is committing, or is about to commit

a crime may detain that person briefly in order to investigate the circumstances that provoked

suspicion.’”) (quoting Nathan v. State, 805 A.2d 1086, 1093 (2002)).

          Here the evidence establishes that Officer Eveler had reasonable suspicion that Williams

had just driven on or was about to drive on Chillum Road with defective tail and tag lights in

violation of the Transportation Code. When Officer Eveler first encountered Williams on 16th



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Avenue, he had stopped his vehicle with its lights on in a spot with a large yellow “X,” suggesting

that he had not been there for long and could not stay for long. At this point, the right tail light

and tag lights were not working. When Officer Eveler returned approximately one minute later,

the tail lights and tag lights were working as Williams began to drive the car before he was stopped.

Sixteenth Avenue connects only to Chillum Road, which is undisputed to be a public road, and

meets the statutory definition of “highway.” Officer Eveler’s observation of a vehicle with its

lights on but a defective tail light and tag light, along with the position of the vehicle stopped in a

spot with a yellow “X,” and the fact that Williams actually began to drive, provide the

“particularized, objective basis” to conclude that Williams had just or was about to drive on

Chillum Road with defective tail and tag lights. Therefore, Officer Eveler had the reasonable

suspicion necessary to justify a brief Terry stop to investigate the situation further.

       Williams argues that any reasonable suspicion Officer Eveler may have had when he first

noticed Williams’ tail and tag lights were out dissipated because the lights were working when

Officer Eveler returned and Williams began to drive. In support of his position, Williams points

to United States v. $85,688.00 in U.S. Currency, 577 Fed. App’x 811 (10th Cir. 2014)

(unpublished). In that case, the Tenth Circuit found that an officer’s reasonable suspicion of a

vehicle registration offense dissipated after an officer determined that the driver’s license plate and

registration were lawful. But the situation here is different. The driver’s license plate and

registration in U.S. Currency did not have the possibility of becoming defective and creating an

unsafe situation soon after the stop ended. In contrast, having observed the tail and tag lights out

moments before, it was reasonable to conclude that they might go out again moments later when

Williams was driving on a public highway, creating a safety threat. Indeed, the evidence shows

that within fifteen minutes after the stop was conducted, Williams’ right tail light and tag light



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were again not functioning. Therefore, Officer Eveler had reasonable suspicion to conduct a lawful

stop of Williams. Because this stop was lawful, Williams’ motion to suppress is denied.

       I will schedule a telephone call with counsel to discuss further scheduling in this case.

                                             ORDER

       Accordingly, it is, this 16th day of September, 2019, hereby ORDERED that Defendant’s

Motion to Suppress, ECF No. 18, IS DENIED.

                                                                     /S/
                                                             Paul W. Grimm
                                                             United States District Judge




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